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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC, et al.,

                Plaintiffs,

        v.                                                Civil Action No. 19-2443 (RDM)

 JONES DAY, et al.,

                Defendants.


                          MEMORANDUM OPINION AND ORDER

       Since discovery began in this case in May 2021, the parties’ exchange of information has

been heavily contested, necessitating the Court’s intervention on no fewer than seven separate

occasions. See Min. Entry (June 4, 2021); Min. Entry (July 20, 2021); Min. Entry (July 29,

2021); Min. Entry (Sept. 9, 2021); Min. Entry (Sept. 29, 2021); Min. Entry (Jan. 31, 2021). In

the latest round of discovery disputes, Plaintiffs and Defendants have each filed motions to

compel in which they seek to challenge various privilege assertions by their opponents. See Dkt.

85; Dkt. 91. The Court held a hearing on the disputes on January 31, 2022, at which it resolved

most of the issues raised by the parties’ motions and referred part of Plaintiffs’ motion to a

magistrate judge for ex parte, in camera review of certain documents on Defendants’ privilege

log. Min. Entry (Jan. 31, 2022); see Min. Order (Feb. 1, 2022).

       One issue that remains involves Defendants’ Interrogatory No. 1, which requests

information relating to an email that Savignac sent to Jones Day on January 16, 2019. That

email takes issue with Jones Day’s rejection of Savignac’s request for the same period of

parental leave offered to female lawyers at the firm. Copying Sheketoff, Savignac wrote: “We

have closely reviewed the case law, including the two cases you rely on. We have also discussed
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the matter with other competent attorneys. Your cases do not support Jones Day’s

discriminatory policy, which is illegal under Title VII and D.C. law.” Dkt. 84-2 at 14.

Interrogatory No. 1, in turn, asks Plaintiffs to “[i]dentify each [p]erson whom you conferred or

consulted with regarding Jones Day’s parental and/or disability polices at any time prior to the

January [e]mail, including without limitation those individuals referenced in the January [e]mail

as ‘other competent attorneys.’” Dkt. 91-5 at 3. In response to the interrogatory, Plaintiffs

identified several current and former Jones Day attorneys with whom they had discussed Jones

Day’s policies. Id. at 3–4. They declined, however, to disclose “the identities of the persons

with whom they consulted in anticipation of this litigation (including the ‘other competent

attorneys’ and any other lawyers and law firms),” on the theory that the names are “protected

from discovery by the work-product doctrine” and, in any event, are “irrelevant.” Id. at 3.

Defendants now ask the Court to compel a response. Dkt. 91 at 14.

       At the outset, Plaintiffs acknowledge—as they must—that “Jones Day ‘is free to ask for

names of persons with knowledge of the facts.’” Dkt. 100 at 18 (quoting United States v. All

Assets Held at Bank Julius Baer & Co., 270 F. Supp. 3d 220, 225 (D.D.C. 2017)). But the

identification of individuals whom Plaintiffs interviewed in preparation for litigation is a

different matter, Plaintiffs maintain, because “[s]uch information would reveal ‘how [Plaintiffs]

choose to prepare their case, the efforts they undertake, and the people they interview—all

information that falls within the scope of the work-product doctrine.’” Id. (quoting All Assets

Held, 270 F. Supp. 3d at 225). Plaintiffs also insist that the names of the individuals whom they

consulted are irrelevant. Id. at 19. These individuals do not have any “discoverable

information,” Plaintiff claim, because their “sole connection to this case is that they were

‘consulted . . . regarding Jones Day’s parental and/or disability leave policies’ in anticipation of



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litigation.” Id. (emphases omitted). In other words, they are “not witnesses in the usual sense”

because they do not have any “relevant knowledge but for those discussions.” Id. As Plaintiffs

explain, to the extent that Jones Day asks these individuals about Plaintiffs’ beliefs while

Plaintiffs anticipated litigation, “the work-product doctrine precludes Jones Day from deposing

them about those conversations, which constitute [Plaintiffs’] ‘mental impressions, conclusions,

opinions, or legal theories . . . concerning the [anticipated] litigation.’” Id. at 20 (alterations in

original) (quoting Fed. R. Civ. P. 26(b)(3)(B)). And to the extent that Jones Day asks these

individuals for their personal views on the legality of Jones Day’s policies, a third party’s views

are irrelevant. Id. at 19.

        Defendants make three points in response. First, they argue that a list of persons with

whom the Plaintiffs consulted before sending the January 2019 email cannot be privileged

attorney work product because a list, standing alone, does not “reveal anything confidential

about [Plaintiffs’] litigation strategy or mental impressions.” Dkt. 91 at 15. Next, they dispute

Plaintiffs’ contention that the identities of the individuals Plaintiffs consulted are irrelevant to the

issues in the case. To the contrary, Defendants explain, these individuals may have information

relevant to an essential element of Plaintiffs’ retaliation claim—i.e., whether Plaintiffs believed

in “good faith” at the time of their January 16, 2019 email that Jones Day’s policies violated

Title VII. Dkt. 91 at 15–16; Dkt. 106 at 8. Because the January 16, 2019 email implies that

Plaintiffs based their belief in the unlawfulness of Jones Day’s leave on Plaintiffs’ consultations

with “other competent attorneys,” Defendants contend that they should be permitted, at a

minimum, “to ask those individuals whether they really agree with the premise of Savignac’s

January Email and demand for eight full weeks of additional paid leave.” Dkt. 91 at 16.

According to Defendants, they are not seeking the names of the “other competent attorneys” to



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obtain information about Plaintiffs’ preparation for this case, as Plaintiffs suggest, but rather

because “such individuals may be witnesses with relevant factual information.” Dkt. 91 at 15.

Finally, even if the names of the individuals Plaintiffs consulted before their January email were

subject to work-product privilege, Defendants argue that Plaintiffs waived that privilege by

affirmatively “assert[ing] the professional qualifications and opinions of these ‘other competent

attorneys’ as a basis for [their] demand” in the January email. Id. at 16. Plaintiffs may not,

Defendants argue, “use their consultations with professionals as a ‘sword’ to support the

legitimacy of their claims, and then use the work-product protection as a shield ‘to prevent

access to information which [they have] made relevant.’” Id. (quoting EEOC v. Urb. Serv. Sys.

Corp., No. CIV. A. 97-422, 1999 WL 1125134, at *2 (D.D.C. Nov. 30, 1999)).

       For the following reasons, the Court concludes that Defendants’ interrogatory seeks

information that is relevant to the issues in the litigation and that Plaintiffs have not met their

burden of demonstrating that the information is protected by the attorney work-product privilege.

The Court will, accordingly, grant this aspect of Defendants’ motion to compel, Dkt. 91, and

order Plaintiffs to answer Defendants’ interrogatory in full.

       Under the circumstances of this case, the Court is unpersuaded that identifying the

individuals whom Plaintiffs consulted about the Jones Day parental leave policy and referenced

in their January email would reveal any privileged work product. That list of names, standing

alone, would not “directly or indirectly reveal [Plaintiffs’] mental processes,” nor would it

“furnish[] . . . information as to the content of any statement.” Alexander v. FBI, 192 F.R.D. 12,

19 (D.D.C. 2000) (quoting United States v. Amerada Hess Corp., 619 F.2d 980, 987–88 (3d Cir.

1980)). And although a list of witnesses an attorney has interviewed in anticipation of litigation




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can, at times, permit a requesting party impermissibly to glean its opponent’s strategy, that is not

the case here.

        In support of their privilege assertion, Plaintiffs primarily urge the Court to adopt

Magistrate Judge Harvey’s reasoning in United States v. All Assets Held at Bank Julius Baer &

Co., 270 F. Supp. 3d 220 (D.D.C. 2017). There, Judge Harvey concluded that the work-product

privilege barred an interrogatory that sought the identities of all persons “who ha[d] been

interviewed by [Claimant], or from whom statements or documents ha[d] been obtained by

[Claimant], in relation to the facts and allegations of the Amended Complaint.” 270 F. Supp. 3d

at 222 (second and fourth alterations in original). After recognizing a split between the various

courts to have considered this question (as well as a split between judges on this Court), Judge

Harvey opined that the “better-reasoned cases . . . are those that draw a distinction between

discovery requests that seek the identification of persons with knowledge about the claims or

defenses (or other relevant issues) . . . and those that seek the identification of persons who have

been contacted or interviewed by counsel concerning the case.” Id. at 225 (quotation marks

omitted). Otherwise, he explained, “to grant such a request would be to reveal to . . . Claimant’s

adversary . . . how Claimant and his counsel ch[ose] to prepare their case, the efforts they

under[took], and the people they interviewed.” Id. (quotation marks omitted).

       Although Judge Harvey’s reasoning is persuasive, it does not advance Plaintiffs’ position

here—and, indeed, if anything, All Assets Held illustrates why Defendants have the better of the

argument. As an initial matter, the Court recognizes the utility of Judge Harvey’s general

distinction between requests for the identities of individuals who have knowledge about the

claims, defenses, or other relevant issues in a case, on the one hand, and requests for the

identities of individuals whom opposing counsel has contacted or interviewed in preparation for



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litigation, on the other. It is not hard to imagine scenarios, for example, in which disclosing

names in the latter camp might enable “significant insights into [opposing counsel’s] preparation

of their case (and thus mental processes).” Chiperas v. Rubin, No. CIV. A. 96-130, 1998 WL

531845, at *1 (D.D.C. Aug. 24, 1998) (quoting Bd. of Educ. of Evanston Twp. v. Admiral

Heating & Ventilating, Inc., 104 F.R.D. 23 (N.D. Ill. 1984)). The risk with disclosing such

information is that it conveys which witnesses opposing counsel “believe are the most important,

or problematic”—thereby providing “a valuable filter” for the requesting party. All Assets Held,

270 F. Supp. 3d at 225. The interrogatory Judge Harvey confronted in All Assets Held is a

perfect example. That request sought to “narrow a list of several hundred individuals” that the

opposing party had previously identified as knowledgeable about the facts of the case by

identifying for the requesting party those individuals whom the opposing party’s counsel had

“determined were worth interviewing.” Id.

       Defendants’ interrogatory does not pose the same risk. It does not ask Plaintiffs to reveal

anything about their strategy for the case, and it does not seek to borrow the benefit of Plaintiffs’

trial preparation to save Defendants from engaging in the litigation-related leg work that

Plaintiffs have previously devoted to their cause. Nor is there any reason to believe that

requiring Plaintiffs to comply with the request will chill lawyers from fully preparing for

litigation, based on a fear that any unhelpful investigative efforts might inure to the benefit of

their opponents. Instead, the interrogatory asks only that Plaintiffs identify those individuals

whom Plaintiffs “conferred or consulted with regarding Jones Day’s . . . leave policies . . . prior

to the January Email, including without limitation those individuals referenced in the January

Email as ‘other competent attorneys.’” Dkt. 91-5 at 3 (emphases added). The limitation of the

interrogatory to witnesses who may possess factual information relevant to the January 16, 2019



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email is significant, and ultimately dispositive in this case. As Defendants explain, these

consultations are at the heart of an essential (and contested) element of Plaintiffs’ retaliation

claim: that Plaintiffs had a good faith basis for believing, at the time of their January 16, 2019

email to Jones Day, that Jones Day’s leave policies were unlawful.

       Under Title VII, a plaintiff asserting a retaliation claim based on the statute’s “opposition

clause”—which makes it unlawful “for an employer to discriminate against any of his employees

. . . because [the employee] has opposed any practice made an unlawful employment practice by

[Title VII],” 42 U.S.C. § 2000e-3(a)—must “demonstrate a good faith, reasonable belief that the

challenged practice violates Title VII,” George v. Leavitt, 407 F.3d 405, 417 (D.C. Cir. 2005).

“Good faith” and “reasonableness” are separate requirements. And while the reasonableness of a

plaintiff’s belief turns on an objective test, see Grosdidier v. Broad. Bd. of Governors, 709 F.3d

19, 24 (D.C. Cir. 2013), the good faith requirement requires a subjective inquiry into the

plaintiff’s beliefs and motivations, see Monteiro v. Poole Silver Co., 615 F.2d 4, 7–8 (1st Cir.

1980) (“[T]he plaintiff must show that his so-called opposition was in response to some honestly

held, if mistaken, feeling that discriminatory practices existed.” (emphasis added)); Parker v.

Baltimore & Ohio R.R. Co., 652 F.2d 1012, 1020 (D.C. Cir. 1981) (citing Monteiro for the good

faith requirement).

       Because the good faith requirement is an essential element of Plaintiffs’ retaliation claim,

Defendants are entitled to inquire into whether Plaintiffs acted in good faith when they sent their

January 16, 2019 email to Jones Day. Enter Defendants’ interrogatory. Defendants assert that

they need to know the names of the “other competent attorneys” whom Plaintiffs referenced

having consulted in their January 16, 2019 email because those individuals have information

relevant to Plaintiffs’ good faith. As Defendants explain, a reasonable jury could conclude that



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the text of Plaintiffs’ January 2019 email—a key piece of evidence in this case—implies that the

“other competent attorneys” Plaintiffs consulted “blessed Savignac’s views about Jones Day’s

policies” and, in all likelihood, “will weigh that assertion in favor of Savignac’s good faith.”

Dkt. 106 at 18. Defendants insist that they “must be able to investigate those consultations to

have the opportunity to impeach or discredit” the implication of that statement, id., at a minimum

by asking whether those individuals agreed with the position that Plaintiffs took in their January

email, Dkt. 91 at 16. Moreover, Defendants continue, if it turns out that “those consultations

never occurred—or if they did occur and the input Plaintiffs received was based on incomplete

information or not consistent with their position—that is a critical fact that will seriously

undermine the credibility of Savignac’s allegation of good faith.” Dkt. 106 at 18.

       The Court agrees with Defendants that the “other competent attorneys” may possess

information that is relevant to an issue in this case, given the relevance of Plaintiffs’

consultations to the good faith element. To the extent that Plaintiffs did not consult with “other

competent attorneys,” as they claimed, or that those individuals did not believe that Jones Day’s

leave policies violated Title VII, that information would tend to make Plaintiffs’ good faith “less

probable than it would be without the evidence” and, thus, would be “of consequence in

determining the action.” Fed. R. Evid. 401. Moreover, these circumstances plainly distinguish

Defendants’ interrogatory from the requests in All Assets Held and other decisions that have

deemed lists of interviewees to be protected under the work-product privilege. See 270 F. Supp.

3d at 224–25 (citing cases). Here, Defendants have requested the names of the attorneys

Plaintiffs consulted before their January email not as a method to glean Plaintiffs’ litigation

strategy, but rather as an effort to identify witnesses who might have factual information relevant




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to an important issue in the case. As a result, the Court concludes that this information is both

relevant and not subject to the work-product privilege.1

       The Court notes that Plaintiffs do not claim that the attorney-client privilege protects the

identifies of the “other competent lawyers” referenced in their email or anyone else whom they

consulted about the policy before sending the January 2019 email. See Dkt. 91 at 16 & n.5; Dkt.

100 at 19–20, 23 n.4; Dkt. 106 at 18. The question whether Plaintiffs have an attorney-client

relationship with the “other competent lawyers” referenced in the email poses a very different

question from the question posed by Defendants’ motion to compel. Finally, for present

purposes, the Court need address only whether Plaintiffs must respond to the interrogatory,

which merely asks for a list of names. The Court expresses no view on what, if any, limits might

exist on questioning those individuals at deposition or trial in this matter.

       Accordingly, it is hereby ORDERED that Defendants’ motion to compel, Dkt. 91, is

GRANTED in part with respect to Interrogatory No. 1, and Plaintiffs are hereby ORDERED to

respond to Interrogatory No. 1 and to identify each person with whom Plaintiffs conferred or

consulted regarding Jones Day’s parental and/or disability leave policies at any time prior to

Plaintiffs’ January 16, 2019 email to Jones Day, including those individuals referenced in that

email as “other competent attorneys.”

       SO ORDERED.




1
 Because the Court concludes that the work-product privilege does not apply, it need not address
whether Plaintiffs waived the work-product privilege. Compare Dkt. 91 at 15, with Dkt. 100 at
22. And, similarly, the Court need not reach the question whether the privilege, if applicable,
would yield to Defendants’ “substantial need for the materials to prepare [their] case.” Fed. R.
Civ. P. 26(b)(3)(A).
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                                          /s/ Randolph D. Moss
                                          RANDOLPH D. MOSS
                                          United States District Judge

Date: February 20, 2022




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